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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DONNA CURLING, et al.

Plaintiffs,
CIVIL ACTION

V.
FILE NO. 1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,

Defendants.

 

 

DECLARATION OF RYAN GERMANY

Pursuant to 28 U.S.C. § 1746, I, RYAN GERMANY, make the following
declaration:

1. I am over the age of 21 years, and I am under no legal disability
which would prevent me from giving this declaration. If called to testify, I
would testify under oath to these facts.

2 I currently am the General Counsel in the Office of the Georgia
Secretary of State. I have held that position since January 2014. In my
position, I have acquired firsthand knowledge of the business operations
within the Secretary of State’s Office.

3. Following the passage of House Bill 316, the Secretary of State was

tasked with replacing the then current DRE voting systems with a new ballot
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marking device (“BMD”) voting system. The Secretary of State engaged in a
competitive bid process to select a vendor for the new BMD system.

A. On July 29, 2019, the Secretary of State issued a Notice of Intent
to award a contract to the successful offeror of the competitive bid, Dominion
Voting Systems, Inc. The contract was worth $106,842,590.80, and was
awarded to provide the new BMD voting system to Georgia. The contract
required the complete implementation of the new voting system prior to March
24, 2020 and be fully operational and available for use in all subsequent
primary and general elections.

5. Pursuant to that contract, the State of Georgia purchased 30,050
in the first year and immediately began helping Georgia’s implement the new
voting system.

6. The BMD voting systems have been fully distributed and are
currently in use in all counties in Georgia.

7. The BMD voting systems completely replaced the DRE voting
systems that were previously used in Georgia, beginning with a special election
held on January 28, 2020.

8. For ballots voted on a BMD, the voter makes their selection on the
touchscreen, reviews a ballot summary on the screen, and then selects “print

ballot.” Then the voter is able to review their selections on the printed paper
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ballot (State Election Board Regulation 183-1-12-.11(8) requires the poll
official stationed at the scanner to offer each voter specific verbal instruction
to review their printed paper ballot prior to scanning it) prior to inserting the
printed paper ballot into a precinct scanner which scans the QR code and
deposits the ballot into a locked box.

9. For absentee ballots, voters mark ballots by hand. These hand-
marked paper ballots are then scanned and tabulated using a “Central Count
Scanner.”

10. Since the Secretary of State decertified the DREs on December 30,
2019, no elections in Georgia have been conducted using the DREs.

11. Iam not aware of any intention by the State of Georgia to use
DREs for any election in the future.

12. The State of Georgia’ss ENET database maintains records
demonstrating a voter’s voting history, including which elections they voted in
and the method they chose to vote in those elections.

13. On July 2022, MITRE’s National Election Security Lab, retained
by Dominion Voting Systems Corp., provided their findings of an independent
expert technical review of the claims concerning the security of specific devices

used in the conduct of elections in the State of Georgia. Attached as Exhibit 41
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to the Statement of Undisputed Material Facts is a true and correct copy of
MITRE’s report.

14. Attached as Exhibit (18) to the Statement of Undisputed Material
Facts is a true and correct copy of Donna Curling’s ENET report as of October
12, 2021.

15. Attached as Exhibit (21) to the Statement of Undisputed Material
Facts is a true and correct copy of Donna Price’s ENET report as of October 12,
2021.

16. Attached as Exhibit (23) to the Statement of Undisputed Material
Facts is a true and correct copy of Jeffrey Schoenberg’s ENET report as of
October 12, 2021.

17. Attached as Exhibit (24) to the Statement of Undisputed Material
Facts is a true and correct copy of Jeffrey Schoenberg’s Absentee Ballot ENET
Report as of October 12, 2021.

18. Attached as Exhibit (29) to the Statement of Undisputed Material
Facts is a true and correct copy of Laura Marie Digges’s ENET report as of
May 25, 2021.

19. Attached as Exhibit (32) to the Statement of Undisputed Material
Facts is a true and correct copy of William Digges ITI’s ENET report as of May

25, 2021.
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20. Attached as Exhibit (34) to the Statement of Undisputed Material
Facts is a true and correct copy of Ricardo Davis’s ENET report as of May 25,
2021.

21. Attached as Exhibit (36) to the Statement of Undisputed Material
Facts is a true and correct copy of Megan Missett’s ENET report as of May 26,

2021.

[signature on following page]
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I declare under penalty of perjury that the foregoing is true and correct.

Kile —k

Rydn Germ any~

Executed this 9th day of January, 2023.
